Case 6:20-cr-00097-GAP-LRH Document 106 Filed 05/17/21 Page 1 of 1 PagelD 441

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

 

 

 

 

 

 

 

ORLANDO DIVISION
UNITED STATES OF AMERICA
VS. CASE NO: 6:20-cr-97-GAP-LRH
JOEL MICAH GREENBERG
AUSA: Roger Handberg/Jennifer Harrington
Defense Attorney: Fritz Scheller, Retained Counsel
JUDGE: LESLIE R. HOFFMAN DATE AND TIME: May 17, 2021
United States Magistrate Judge 10:03-10:50
47 minutes
Courtroom: 5D TOTAL TIME:
DEPUTY CLERK: | Edward Jackson REPORTER: Heather Suarez
heathersuarez.usocr@gmail.com
INTERPRETER: None PRETRIAL/PROB: No Appearance
CLERK’S MINUTES
CHANGE OF PLEA HEARING

Case called; appearances taken; procedural setting by the Court.

Defendant was placed under oath.

Court inquired of the defendant regarding competency.

Court advised the defendant of his rights and the rights that he waives by entering a plea of guilty.
Government summarized the charges in counts 1, 8, 9, 14, 24 and 26 of the Third Superseding Indictment.
Government advised the defendant advised of the penalties.

Court advised the defendant of the sentencing guidelines.

Defendant acknowledged his signature on the plea agreement.

Court summarized the provisions of the plea agreement.

Defendant plead guilty to counts 1, 8, 9, 14, 24 and 26 of the Third Superseding Indictment.
Defendant admitted to the facts as set forth in the plea agreement.

Court inquired of the defendant regarding the elements as to counts 1, 8, 9, 14, 24 and 26 of the Third
Superseding Indictment.

Court found the facts sufficient to allow the defendant to plead guilty.

Report and Recommendation to be entered.

Page 1 of 1

 
